Case 1:23-cv-00325-WCB Document 61 Filed 10/10/23 Page 1 of 4 PageID #: 1494




                         IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

DELOITTE CONSULTING LLP and                 )
DELOITTE DEVELOPMENT LLC,                   )
                                            )
           Plaintiffs,                      )
                                            )
      v.                                    ) C.A. No. 23-325-WCB
                                            )
SAGITEC SOLUTIONS, LLC,                     )
                                            )
           Defendant.                       )


               LETTER TO THE HONORABLE WILLIAM C. BRYSON
                        FROM ANDREW E. RUSSELL


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Case 1:23-cv-00325-WCB Document 61 Filed 10/10/23 Page 2 of 4 PageID #: 1495




Dear Judge Bryson:

Deloitte submits this letter concerning the scope of party employee access to “Highly
Confidential Information” (HCI) in the protective order to be entered in the above-captioned
action. Deloitte’s proposed protective order would limit disclosure of HCI to employees of the
receiving party who are in-house counsel and not in a competitive business decision-making role.
Ex. 1 at §4(a), 3(b). Sagitec has rejected this proposal, instead proposing that, if any Deloitte
party representatives are allowed to access HCI, then a Sagitec non-attorney businessperson
(who may be a competitive decision maker) should as well. Sagitec’s stated rationale for this all-
or-nothing approach is that there should be “parity in access,” i.e., “if Sagitec[’s non-attorney
party representative] does not have access to such information neither should Deloitte[’s in-
house counsel].” Ex. 2 (Oct. 6, 2023 D. Prange Email to P. Arnett).

But, as discussed below, Deloitte’s proposal to permit a limited number of litigation in-house
counsel but bar competitive decision makers from accessing HCI, with the numerous safeguards
included in its proposal, is consistent with the practice in this District and the purpose of a
protective order in protecting information from disclosure. Meanwhile, Sagitec’s “parity”
rationale for rejecting Deloitte’s proposal has been expressly rejected as a basis for excluding in-
house counsel from access to HCI—even when, as here, one party has chosen not to hire in-
house counsel. It is also not a basis for Sagitec to force Deloitte to disclose sensitive confidential
material directly to Sagitec businesspersons potentially responsible for competing with Deloitte.

Deloitte’s proposed protective order is consistent with Delaware practice, where in-house
attorneys are routinely granted access to even the most sensitive information in a litigation so
long as those attorneys are not competitive decision makers. Sight Sciences, Inc. v. Ivantis, Inc.,
Civ. 21 No. 01317 (GBW) (SRF), D.I. 69 Oral Order (D. Del. Aug. 16, 2022) (granting access of
HCI to in-house attorney for one party even when opposing party had no in-house counsel) (Ex.
3); R.R. Donnelley & Sons Co. v. Quark, Inc., C.A. No. 06-032 (JJF), 2007 WL 61885, at *2-3
(D. Del. Jan. 4, 2007) (granting access to HCI to in-house attorney while denying it to non-
attorney employee); Avery Dennison Corp. v. Minnesota Mining & Mfg. Co., C.A. No. 01-125
(JJF), 2001 WL 1339402, at *2 (D. Del. Oct. 26, 2001) (granting access to in-house counsel and
denying additional confidentiality “tier” to screen in-house attorneys); Boehringer Ingelheim
Pharms., Inc. v. Hercon Labs. Corp., No. 89-484 (CMW), 1990 WL 160666, at *2 (D. Del. Oct.
12, 1990) (granting access to in-house counsel but not in-house technical employees); Safe Flight
Instrument Corp. v. Sundstrand Data Control Inc., 682 F. Supp. 20, 21–23 (D. Del. 1988)
(granting access to defendant’s in-house counsel but denying access to plaintiff’s non-attorney
businesspersons). Indeed, as this Court has explained before, an in-house attorney’s “role in
supervising [] litigation and settlement makes it important for him to have broad access to the
litigation materials in order to manage the litigation and make strategic decisions in the course of
the case.” Brit. Telecomns. PLC v. IAC/InterActiveCorp, 330 F.R.D. 387, 394 (D. Del. 2019).

Additionally, Deloitte’s proposal is buttressed by safeguards designed to prevent inadvertent
disclosure. The party designating in-house counsel must provide to the opposing party
information about the designee’s position and role with the party. Ex. 1 at §3(b). The opposing
party may consider and object. Id. at §5(a). If the concerns cannot be alleviated through a meet
and confer, the objection can be brought to the Court. Id. at §5(b) Potential in-house counsel
designees also must affirm they have read the protective order, that they are not competitive
Case 1:23-cv-00325-WCB Document 61 Filed 10/10/23 Page 3 of 4 PageID #: 1496




decision makers, and that they will destroy any confidential information in their position if it
does. Id. at §9(a), Ex. A (“Acknowledgement of Stipulated Protective Order”). And by limiting
disclosure of the most sensitive information to in-house counsel, Deloitte’s proposal incorporates
the professional responsibility and ethical obligations required of any licensed attorney, offering
“yet another protection against the abuse of confidential information[.]” Boehringer, 1990 WL
160666, at *2; see also Sight Sciences, C.A. No. 21-1317 (GBW) (SRF), D.I. 69 (D. Del. Aug.
16, 2022) (oral order); U.S. Steel Corp. v. United States, 730 F.2d 1465, 1468 (Fed. Cir. 1984).
These safeguards are sufficient to reduce the risk of inadvertent disclosure such that those risks
do not outweigh a party’s ability to choose its own attorneys to manage the litigation, and outside
counsel’s ability to discuss strategic elements of this case with in-house counsel.

Sagitec’s argument that Deloitte’s proposal should be rejected because “there should be parity in
access,” while noting it has not hired its own in-house counsel, is not relevant and is not the law.
A protective order is designed to safeguard information from disclosure to persons who could,
even inadvertently, use that information to provide a competitive benefit to a party beyond
assisting with the management of the litigation. It is not about parity. That Sagitec has chosen
not to hire its own in-house counsel should not dictate the terms of the protective order or who
Deloitte can hire to manage its litigation. Indeed, it is not unusual for courts to institute
protective orders granting different levels of access to parties when the particular facts
concerning the parties at issue render it necessary, and courts reject arguments regarding
“parity.” See Sight Sci., No. 21-1317, D.I. 69 Oral Order (D. Del. Aug. 16, 2022) (“Plaintiff’s
argument regarding an ‘imbalance’ between the parties does not alter the analysis, which is not
dependent on the relative size of the parties and their respective in-house legal departments or
whether Plaintiff lacks in-house counsel.”) (Ex. 3); Affymetrix, Inc. v. Illumina, Inc., C.A. 04-901
(JJF), 2005 WL 1801683, at *1–2 (D. Del. July 28, 2005) (allowing plaintiff’s team of four in-
house counsels access because they were not involved in competitive decision making, but
barring access from defendant’s single in-house counsel because counsel’s role crossed into
competitive decision making); Safe Flight, 682 F. Supp. 20 at 22 (“Plaintiff alternatively argues
for symmetry . . . [t]his argument is glib.”).

Sagitec’s attempt to horse-trade access to confidential information to allow its own non-attorney
employees access to sensitive HCI, regardless of their role in the company, is also misguided.
Indeed, courts recognize that it is difficult, if not impossible, for even employees acting in good
faith to separate information learned from a competitors HCI from their own research and ideas.
See, e.g., Safe Flight, 682 F.Supp. 20 at 22; Boehringer, 1990 WL 160666, at *2–3. Deloitte
should not be forced to disclose its own sensitive HCI to a direct competitor’s employees just so
the attorneys of its choice (a limited number of its own in-house litigation counsel) can manage
the litigation—particularly given that its lawsuit is all about Sagitec employees’ history of
misusing Deloitte’s sensitive confidential information in order to compete with Deloitte.

As a result of the foregoing, Deloitte respectfully requests this Court enter its proposed
protective order so the parties may continue with discovery.




                                                 2
Case 1:23-cv-00325-WCB Document 61 Filed 10/10/23 Page 4 of 4 PageID #: 1497




                                              Respectfully Submitted,

                                              /s/ Andrew E. Russell

                                              Andrew Russell (No. 5382)

cc:   Clerk of Court (via CM/ECF)
      All Counsel of Record (via CM/ECF & Email)




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